            Case: 22-1776 Document:
Case 3:18-cv-13862-RHC-DRG  ECF No. 34   Filed: 05/30/2023
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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
   Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
       Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                 Filed: May 30, 2023




Ms. Kinikia D. Essix
Eastern District of Michigan at Detroit
231 W. Lafayette Boulevard
Fifth Floor Theodore Levin U.S. Courthouse
Detroit, MI 48226-0000

                     Re: Case No. 22-1776, Joshua Zarza v. Board of Regents of the University of Michigan
                         Originating Case No: 3:18-cv-13862

Dear Ms. Essix:

   Enclosed is a copy of the mandate filed in this case.

                                                 Sincerely yours,

                                                 s/Patricia J. Elder, Senior Case Manager
                                                    for Antoinette Macon, Case Manager

cc: Mr. Michael N. Hanna
    Mr. Daniel J. McCarthy
    Mr. Donald B Miller
    Mr. Joseph E. Richotte

Enclosure
            Case: 22-1776 Document:
Case 3:18-cv-13862-RHC-DRG  ECF No. 34   Filed: 05/30/2023
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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                           ________________

                                              No: 22-1776
                                           ________________

                                                                      Filed: May 30, 2023

KAREN ZARZA, Deceased, Joshua Zarza substituted as a party in interest.; JOSHUA ZARZA,
substituted party on behalf of Karen Zarza, deceased

                Plaintiffs - Appellants

v.

BOARD OF REGENTS OF THE UNIVERSITY OF MICHIGAN

                Defendant - Appellee



                                            MANDATE

     Pursuant to the court's disposition that was filed 05/05/2023 the mandate for this case hereby

issues today.



 COSTS: None
